Case 2:02-cV-02095-.]DB-tmp Document 147 Filed 08/09/05 Page 1 of 3 Page|D 181

lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEEUS AUG _9 Mq 8: 59
WESTERN DIVlSlON

 

 

 

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AMBULATORY cARE cENTER, LLc, ‘-.1131.1-:-~ * 113

An indiana Limited Liabi|ity

Company, EVANSV|LLE SURVE¥

GROUP, |NC., An indiana Corporation,
and PH|LL|P ST|VER, M.D., on behalf

of himself and all others similarly situated,

P|aintiffs,

vs No. 02-2095 D BRE/

U|BERALL, LE|B, BLOCKMAN AND
PERRY, P.C., a Tennessee Professiona|
Corporation,

Defendant.

 

ST|PULAT|ON OF D|SIV||SSAL

 

COl\/lE NOVV, the parties, by and through their attorneys of record, and announce
to the Court thatthe matters and things heretofore in Controversy between them have been
settled and that this Cause should therefore be dismissed.

lT lS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the case be,

and the same is hereby dismissed

 

 

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with Rule 55 and/or 79{a) )F‘RCP on

Case 2:02-cV-02095-.]DB-tmp Document 147 Filed 08/09/05

APPROVED FOR ENTRY:

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UNITED STATE8 DlSTRIC= COURT- WESTERN DlSTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 147 in
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Honorable J. Breen
US DISTRICT COURT

